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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


AKHMED GADZHIEVICH BILALOV,

           Plaintiff,
                                                     No. 20-Civ- 09153 (AT) (JW)
     v.

SBERBANK OF RUSSIA PJSC, and DOES 1-100
inclusive,

           Defendants.




  AKHMED BILALOV’S MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION
      FOR LEAVE TO FILE A THIRD AMENDED COMPLAINT




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          Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure, and Honorable Analisa

Torres’s September 13th, 2022 Order (ECF 98), Plaintiff Akhmed Bilalov respectfully submits

this brief in support of his motion for leave to file a Third Amended Complaint (“TAC”)1.

          On September 13th, 2022, this Court considered the Defendants’ motion to dismiss and

subsequently granted Plaintiff leave to file a motion to amend his complaint with respect to his

abuse-of-process claim. Accordingly, Akhmed Bilalov seeks leave to file an amended complaint

that includes allegations based on the September 13th, 2022 Order and an additional cause of action

for Malicious Prosecution and conforms the requested relief to the claims presented.


                                       PROCEDURAL HISTORY

           Plaintiff, Akhmed Gadzhievich Bilalov (“Akhmed Bilalov”) filed his original complaint

    (“Complaint”) in the Southern District of New York on November 5, 2020. The Complaint

    alleges claims against Herman Gref, and Sberbank CIB USA. On February 5 th, 2020, before the

    Defendants’ time to answer expired, Plaintiff filed a First Amended Complaint (hereinafter

    “FAC”) to correct non-sustentative errors. Before Defendants time to answer was due, the parties

    met and conferred by way of an exchange of pre-motion to dismiss letters, and several key facts

    and issues were raised, these new facts and issues necessitated the filing of the now operative,

    Second Amended Complaint (“SAC”) on July 2nd, 2021 (ECF 51).

            In the SAC Plaintiff, Akhmed Bilalov, alleged causes of action against Defendants

    Herman Gref, Sberbank CIB USA, Inc. (“Sberbank USA”), Sberbank of Russia PJSC (“Sberbank

    Russia”), and Does 1-100 based upon violations of the Racketeer Influenced and Corrupt



1
 A copy of the proposed Third Amended Complaint is filed with this brief as Exhibit A. A comparison of the
proposed Third Amended Complaint to the Second Amended Complaint is filed as Exhibit B.


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 Organizations Act (“RICO”), 18 U.S.C. § 1962, common law fraud, unjust enrichment, malicious

 abuse of process, conversion, and the Alien Tort Statute (the “ATS”), 28 U.S.C. § 1350. See

 generally Second Amend Complaint (ECF No. 51).

        Gref and Sberbank Russia (together, the "Russian Defendants") moved to dismiss

 Plaintiff's claims under Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter

 jurisdiction under the Foreign Sovereign Immunities Act (the "FSIA"), 28 U.S.C. § 1330, and, in

 the alternative, under the doctrine of forum non-conveniens in favor of adjudication in Russia,

 Federal Rule of Civil Procedure 12(b)(2) for lack of personal jurisdiction, or Federal Rule of Civil

 Procedure 12(b)(6) for failure to state a claim. See Russian Defs. Mem., (ECF 59, ECF 73).

 Sberbank U.S.A. moved to dismiss Plaintiff's claims under Federal Rule of Civil Procedure

 12(b)(6) for failure to state a claim. US Def. Mem. (ECF 62). On September 13th, 2022, the Court

 granted Defendant’s motion to dismiss the Second Amended Complaint (ECF 98).

         The Court granted the Russian Defendants’ motion to dismiss as it relates to claims

 against Sberbank Russia arising from the alleged theft of Plaintiff’s shares in the Company,

 which include Plaintiff’s claims under RICO and the ATS, and his common law claims for fraud,

 conspiracy to commit fraud, unjust enrichment, and conversion.

       The Court concluded that Plaintiff should be given leave to file a motion to further amend

his complaint with respect to his abuse-of-process claim.

        Under Federal Rule of Civil Procedure 15(a)’s permissive standards and the liberal policy

 of allowing pleading amendments in the Second Circuit, this Court should grant Plaintiff’s Motion

 for leave to file the Amended Complaint to replead the Abuse of Process Claim and to add its

 sister cause of action under Florida law for Malicious Prosecution.




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                                          ARGUMENT

        Akhmed G. Bilalov seeks leave to file the proposed SAC. Under Rule 15(a) of the Federal

Rules of Civil Procedure, a court “should freely give leave” to amend a complaint “when justice

so requires.” That permissive standard for granting leave to amend promotes a “strong preference

for resolving disputes on the merits.” Williams v. Citigroup Inc., 659 F.3d 208, 212–13 (2d Cir.

2011) (internal quotation marks omitted). Under that standard, leave to amend “should ordinarily

be granted,” and “it is rare that such leave should be denied.” Ricciuti v. N.Y.C. Transit Auth., 941

F.2d 119, 123 (2d Cir. 1991). Leave to amend can be denied only where it is sought in “bad faith

or [with] dilatory motive,” where it will prejudice the defendant, where there has been “repeated

failure to cure deficiencies,” or if amendment would be futile. See, e.g., Twahir v. Vill. Care of

New York, Inc., No. 10 CIV. 9452, 2011 WL 2893466, at *1 (S.D.N.Y. July 12, 2011) (quoting

Foman v. Davis, 371 U.S. 178, 182 (1962)); Shiah Yih Indus. Co. v. Sitco Importing Co., No. 96

CIV. 0356, 1997 WL 304903, at *1–*4 (S.D.N.Y. June 5, 1997). Mere delay or the burdens of

litigation caused by amendment do not, without more, furnish grounds to deny leave to amend.

See Block v. First Blood Assocs., 988 F.2d 344, 350–51 (2d Cir. 1993). Where, as here, defendants

will have an “opportunity to respond to the proposed amended complaint” and the court may

consider “the merits of the motion[s] [to dismiss] in light of the amended complaint,” granting

leave to amend is particularly warranted. Clark v. Dematic Corp., No. 5:14-CV-750, 2014 WL

6387166, at *1– 2 (N.D.N.Y. Nov. 14, 2014) (internal quotation marks and citations omitted).

   A.      The Requested Amendment Furthers the Interest of Justice.

        Akhmed Bilalov seeks leave to amend his complaint to include additional allegations of

fact that support Florida's abuse of process claim. These amendments are in the interest of justice

because they will provide this Court with additional factual allegations to consider when




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determining whether Akhmed Bilalov has adequately stated an abuse of process claim for relief.

Many of these facts provide complementary support to the facts already alleged in the SAC and

help to fill in details that were already alleged in the SAC. Amending the requested relief so that

it extends to the entirety of Sberbank's activities with respect to the abuse of process claim, will

ensure that the relief Akhmed Bilalov formally requests in the complaint is commensurate with

the claims presented. All of these amendments will further the well-recognized policy interest of

having cases "resolved upon the merits" rather than dismissed due to "procedural technicalities."

2 Assam v. Deer Park Spring Water, Inc., 163 F.R.D. 400, 404 (E.D.N.Y. 1995). Justice requires

that leave to amend be granted.

   B.      The Requested Amendment Will Not Unduly Prejudice the Defendants.

        Granting Akhmed Bilalov leave to amend will not cause unfair prejudice to the Defendants

in light of the absence of any progress to date on discovery, and the opportunity Defendants will

have to address the new allegations proposed in the TAC. A defendant is prejudiced by an

amendment only when it would "require the opponent to expend significant additional resources

to conduct discovery and prepare for trial" or "significantly delay the resolution of the dispute."

AEP Energy Servs. Gas Holding Co. v. Bank of Am., N.A., 626 F.3d 699, 725–26 (2d Cir. 2010)

(citation and internal quotation marks omitted). Undue prejudice may arise, for example, when "an

amendment [comes] on the eve of trial and would result in new problems of proof." State Teachers

Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981); see also DeWan v. Seideman, No. 17-

cv-1315 (ER), 2017 WL 6048816, at *5 (S.D.N.Y. Dec. 5, 2017).

        This case is far from the "eve of trial." No trial date has been set; summary judgment

motions have not been scheduled, much less filed; and no discovery has been exchanged. The

posture of this case ensures that the Defendants will have ample opportunity to consider and




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address any new allegations presented in the TAC. And since no discovery has been had,

Defendants cannot be heard to complain about any "additional" discovery that might result from

the proposed amendments.

        The pendency of this case for well over a year does not counsel against granting leave to

amend. And the previous expense of resources to litigate a case—even over several years—does

not, without more, create undue prejudice or bar amendment. Pasternack v. Shrader, 863 F.3d 162,

174 (2d Cir. 2017). As explained in Pasternack, it is improper to deny amendment of a complaint,

even after a motion to dismiss has been decided, on grounds of delay and expense. Id. Here Plaintiff

amended the complaint as of right before an answer was due, and the parties only briefed motions

to dismiss with respect to the Second Amended Complaint. Further, the Defendants' arguments

with respect to the abuse of process claim were grounded in New York law, and the Court

dismissed Plaintiff's claim for a failure to comply with Florida law. Here, Plaintiff seeks to amend

the complaint pursuant to Florida law which has an additional requirement on the pleading of abuse

of process claims. Plaintiff also seeks to add a cause of action for Malicious Prosecution, based

on the same facts as the abuse of process claim.

        Further, many of the new proposed allegations are based on facts that Akhmed Bilalov has

included in previous court filings. These facts further develop a narrative that Akhmed Bilalov has

plainly stated in other submissions. They represent additional proof of the same core allegations,

not proof of a new class of allegations. Defendants will not be prejudiced by having to address

factual assertions of which they have been made previously aware.

   C.      The Requested Amendment Is Not Unduly Delayed.

        Akhmed Bilalov cannot be faulted for undue delay in seeking leave to amend the TAC.

Similar to the undue prejudice analysis, courts in this Circuit have found that parties did not unduly




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delay their request for leave when they filed their motion prior to discovery. See, e.g., Pasternack,

863 F.3d at 174; Gracia v. City of N.Y., No. 16-CV-7329 (VEC), 2017 WL 4286319, at *2

(S.D.N.Y. Sept. 26, 2017). Courts have also declined to find undue delay when a party seeks to

provide further support for its claims based on additional facts, even if the request is made years

after the original complaint was filed. See, e.g., Richardson Greenshields Sec., Inc. v. Lau, 825

F.2d 647, 653 n.6 (2d Cir. 1987) (collecting cases). Granting leave to amend is particularly

appropriate where new facts have come to light after the original pleading has been filed. See

Abbatiello v. Monsanto Co., 571 F. Supp. 2d 548, 552–53 (S.D.N.Y. 2008) (granting leave to

amend complaint that includes facts about which plaintiffs now have “a better understanding”).

        Here, Akhmed Bilalov's proposed amended complaint is timely because discovery has not

yet begun in this action and because the amendment seeks to add new factual allegations that

support a new claim: the Florida abuse-of process claim.

   D.      The Amendment Is Not Sought in Bad Faith or with a Dilatory Motive.

        Akhmed Bilalov's proposed amendment is not sought in bad faith or with a dilatory motive.

Courts have declined to find bad faith or dilatory motive when an amendment is based on the

discovery of new facts. See, e.g., Lehman Bros. Commercial Corp. v. Minmetals Int’l Non- Ferrous

Metals Trading Co., No. 94 CIV. 8301 (JFK), 1996 WL 346426, at *2 (S.D.N.Y. June 25, 1996);

Intersource, Inc. v. Kidder Peabody & Co. Inc., No. 90-cv-7389 (PKL), 1992 WL 369918, at *3

(S.D.N.Y. Nov. 20, 1992). In contrast, bad faith may be found when a party fails to follow a court’s

instructions when filing an amended complaint. See, e.g., Presbyterian Church Of Sudan v.

Talisman Energy, Inc., 582 F.3d 244, 267 (2d Cir. 2009) (finding bad faith when plaintiff sought

leave to amend “three years after the deadline for amendment specified in the scheduling order”).

Bad faith can also be found where a party engages in improper behavior in court, such as making




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knowing misrepresentations in a prior pleading. See, e.g., United States ex rel. Hayes v. Allstate

Ins. Co., 686 F. App’x 23, 27–28 (2d Cir. 2017).

         Here, Akhmed Bilalov seeks to file its proposed TAC in good faith in order to further

support his claims. The Second Circuit has found that even a three-year delay in moving to amend

a complaint, where new factual bases for claims have come to light, does not support a finding of

bad faith. See Fluor Corp., 654 F.2d at 856. Because this action has not yet proceeded to discovery

and remains at the motion to dismiss phase, these amendments cannot be disparaged as an improper

means to delay resolution of this matter.

    E.      The Proposed Amendment Is Not Futile.

         As the additional allegations contained in the proposed SAC further support Akhmed

Bilalov's well-pleaded claims, the amended complaint is not futile. A proposed amendment is futile

only if it fails to state a claim under Rule 12(b)(6). See Panther Partners Inc. v. Ikanos Commc’ns,

Inc., 681 F.3d 114, 119 (2d Cir. 2012). When determining whether an amended complaint states a

claim, a court must (i) consider the proposed amendments and the remainder of the complaint, (ii)

“accept as true all non-conclusory factual allegations therein,” and

         (iii) “draw all reasonable inferences in plaintiff’s favor to determine whether the allegations

plausibly give rise to an entitlement to relief.” Id.

         The proposed amendments here would not be futile because it provides further detailed factual

allegations concerning Akhmed Bilalov’s claim that Sberbank of Russia engaged in Malicious Prosecution

and Malicious Abuse of Process.

         “An action for abuse of process differs from an action for malicious prosecution in that the

latter is concerned with maliciously causing process to issue, while the former is concerned with

the improper use of process after it has been issued”. McMurray v. U-Haul Co., Inc., 425 So. 2d

1208 (Fla. Dist. Ct. App. 1983)


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       “An abuse of process arises only when there has been a perversion of court processes to

accomplish some end which the process was not intended by law to accomplish, or which compels

the party against whom it has been used to do some collateral thing which he could not legally and

regularly be compelled to do”. McMurray v. U-Haul Co., Inc., 425 So. 2d 1208 (Fla. Dist. Ct. App.

1983) (Citing Altenhaus v. Louison, 342 Mass. 773, 172 N.E.2d 230; Spellens v. Spellens, 49

Cal.2d 210, 317 P.2d 613; Geier v. Jordan, D.C.Mun.App., 107 A.2d 440; Hall v. Field

Enterprises, D.C.Mun.App., 94 A.2d 479; Pimentel v. Houk, 101 Cal.App.2d 884, 226 P.2d

739; Ellis v. Wellons, 224 N.C. 269, 29 S.E.2d 884; Italian Star Line v. United States Shipping

Board E.F. Corp.(CCA 2nd Cir.), 53 F.2d 359; annotations 80 A.L.R., pages 580-584.)

       The Court in McMurray v. U-Haul Co, Inc, held that “in order to sustain an action for abuse

of process two elements are essential, (1) the existence of an ulterior motive; and (2) an act in the

use of process other than such as would be proper in the regular prosecution of the charge. Ulterior

motive alone is insufficient; there is no abuse of process where it is confined to its regular and

legitimate function in relation to the cause of action stated in the complaint”. (citing Hall v.

Hollywood Credit Clothing Company, D.C.Mun.App., 147 A.2d 866; Earl v. Winne, 34 N.J.

Super. 605, 112 A.2d 791; Geier v. Jordan, supra; Pimentel v. Houk, supra; Brown v.

Robertson, 120 Ind. App. 434, 92 N.E.2d 856; Elliott v. Warwick Stores, 329 Mass. 406, 108

N.E.2d 681; Saliem v. Glovsky, 132 Me. 402, 172 A. 4; 1 Am.Jur.2d Abuse of Process, §§ 4, 13;

Prosser on Torts, pages 894-895; Cooley on Torts, 4th Ed., § 131, page 434. Also, see the scholarly

opinion and collection of authorities in Spellens v. Spellens, 49 Cal.2d 210, 317 P.2d 613 (1957),

which discuss the subsequent misuse or perversion of duly issued process; as well as Landers v.

Georgia Public Service Commission, 217 Ga. 804, 125 S.E.2d 495 (1962)).




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       The Tort of abuse of process is applicable in situations such as bringing a second action to

collect a debt already paid or use of criminal process to coerce payment of a civil debt or the return

of property. Bradley v. Peaden,347 So.2d 455 (Fla. 1st DCA 1977).

       In the case at bar, Defendant alleges that DEFENDANTS provided money or things of

value to foreign officials to obtain an Interpol red notice and/or diffusion against Bilalov. See

Proposed TAC at, pp 23, ¶ 125. The red notice and/or diffusion was based on false, unfounded,

politically motivated accusations. Id. at 126. Defendant’s actions in bribing officials, and filing

unfounded and false claims constitutes an illegal, improper, and perverted use of process. Id. at

127. Defendants provided false and defamatory information to Interpol and to the United States

DHS which led to Plaintiff’s arrest in Miami. Id. at 128. Defendants had ulterior motives or

purpose in obtaining the issuance of the summons. Id. at 129. Defendants purpose in obtaining the

issuance of the legal process, was to intimidate and extort Plaintiff and to prevent him from

publicizing Sberbank’s illegal taking of Krasnaya Polyana, and the assassination attempts that the

Defendants made on Plaintiff’s life. Id. at 130.

       Additionally, Defendants intended to extradite the Defendant back to Russia in order to

murder him, to prevent him from publicizing the unlawful taking of his company Krasnaya

Polyana and the subsequent prosecution and attempted murder of Plaintiff. Id. at 131. Defendants’

actions were retaliatory and malicious. Id. at 132. Defendants threatened Plaintiff’s life several

times, and demonstrate that Defendants intended to kill him and/ or his family. Id. at 133.

Defendants previously attempted to kill Plaintiff with Mercury. Id. at 134. Defendants’ actions do

not have any justification or excuse. Id. at 135.

       Defendants worked in concert with Russian law enforcement agencies, the Courts, using

their broad influence in order to have Plaintiff detained.




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           Defendants further undertook “an act which constituted misuse of the process after process

was issued, by submitting falsified information to the authorities, by continuing to threaten the

Plaintiff and his family, and through acts of extortion. Id. at 135. As a direct and proximate result

of Defendants’ conduct, Plaintiff has been emotionally and financially damaged. Id. at 135.

           These additional factual allegations provide further support for Plaintiff’s claims and are

probative of a conspiracy by the Defendant’s to use malicious prosecution and abuse of process

against the Plaintiff in order to silence him, manipulate him and deprive him of his property and

liberty.


                                            CONCLUSION

           Akhmed Bilalov’s motion for leave to amend should be granted.



Dated: October 4h, 2022




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